
600 S.E.2d 467 (2004)
358 N.C. 549
STATE of North Carolina
v.
Donald WILLIS and Telena Gay Willis.
No. 221P04.
Supreme Court of North Carolina.
June 24, 2004.
C.R. Wheatly, III, Beaufort, for Donald Willis and Telena Willis.
J. Douglas Hill, Assistant Attorney General, for State.

ORDER
Upon consideration of the petition filed on the 11th day of May 2004 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of June 2004."
